CM/ECF-GA Northern District Court                                    https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?24101444473399...
                      Case 1:14-cr-00229-TCB-RGV Document 166 Filed 06/05/18 Page 1 of 2




                                                1:14-cr-227-TCB-RGV and 1:14-cr-229-1-TCB
                                                             USA v. Buckley et al
                                                      Honorable Timothy C. Batten, Sr.

                                    Minute Sheet for proceedings held In Open Court on 06/05/2018.


               TIME COURT COMMENCED: 10:42 A.M.
               TIME COURT CONCLUDED: 11:30 A.M.                    COURT REPORTER: Lori Burgess
               TIME IN COURT: 00:48                                DEPUTY CLERK: Suzy Edwards
               OFFICE LOCATION: Atlanta

         DEFENDANT(S):                 [3]Gary Edwin Sharp, II Present at proceedings
         ATTORNEY(S)                  Christopher Bly representing USA
         PRESENT:                     Amanda Clark Palmer representing Gary Edwin Sharp
                                      Donald Samuel representing Gary Edwin Sharp
                                      ** Brian Pearce representing USA
         PROCEEDING
                                      Sentencing Hearing(Sentencing Hearing Non-evidentiary);
         CATEGORY:
         MOTIONS RULED
                                      DFT#3-[169]Motion for Downward Departure GRANTED
         ON:
         MINUTE TEXT:                 Court heard argument on objections and made rulings. Court GRANTED
                                      the Govt's 5K motion. See Judgment in a Criminal Case for sentence.




1 of 2                                                                                                                6/5/2018 11:29 AM
CM/ECF-GA Northern District Court                       https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?24101444473399...
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